Case 2:05-cr-20249-.]DB Document 37 Filed 08/31/05 Page 1 of 2 Page|D 37

FIIEJ BY___ _____ no
IN THE UNITED STATES DISTRICT COURT bn '

FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 3 l pH 2: 2a

WESTERN DIVISION
TH;J.§»;A;~} :=,s, 5955)
UNITED STATES OF AMERICA, ) CLER‘A' U_S_ Q{STRECTMI
) W!D OF my MEMPHES
Plaintiff, )
)
v. ) NO. 05-20249 B/An
)
JUAN DELABRA, )
)
Defendant. )

 

ORDER DENYING MOTION TO CONTINUE ATTORNEY
APPOINTMENT HEARING

 

Before the Court is the United States’ Motion To Continue Attorney Appointment

Hearing concerning Defendant, Juan Delabra. The Motion is I)ENIED.

§.%m @._)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: (//GQ J/, ZOOJ/

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Honorable J. Breen
US DISTRICT COURT

